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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

NATIONAL FEDERATION OF                          *
THE BLIND, INC, et al.,
                                                *
                  Plaintiffs,
                                                * No. 1:19-CV-02228-ELH
         v.
                                                *
LINDA H. LAMONE, et al.,
                                                *
                  Defendants.
 *   *        *   *    *    *   *   *   *   *       *     *    *   *   *    *   *   *      *   *

                   MEMORANDUM IN SUPPORT OF DEFENDANTS’
                           MOTION TO DISMISS




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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND


                                                   *
 NATIONAL FEDERATION OF THE
 BLIND, INC, et al.,
                                                   *
                        Plaintiffs,
                                                   *
                                                           No. 1:19-CV-02228-ELH
               v.
                                                   *
 LINDA H. LAMONE, et al.,
                                                   *
                        Defendants.
                                                   *

           *   *    *     *    *      *    *   *       *     *   *   *   *   *   *   *

                MEMORANDUM IN SUPPORT OF DEFENDANTS’
                        MOTION TO DISMISS
                                          INTRODUCTION

       Plaintiffs the National Federation of the Blind, Inc., the National Federation of the

Blind of Maryland, and three individual blind voters ask this Court to order the members

of the Maryland State Board of Elections and the State Administrator of Elections

(collectively, the “State Board”) to change the way that Marylanders vote. Specifically,

they seek to require the State to “move to a fully integrated voting system” in which all

voters are “defaulted” to use accessible “ballot marking devices” (“BMDs”), whereas

currently most voters choose to mark their ballots by hand. See Compl. [Dkt No. 1] ¶ 5.

The Court should deny this requested relief and dismiss plaintiffs’ claims.

       First, plaintiffs fail to state claims for violation of Title II of the Americans with

Disabilities Act, 42 U.S.C. § 12131 et seq. (“Title II”) or Section 504 of the Rehabilitation
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Act, 29 U.S.C. § 794 (“Section 504”). Their claims arising from the 2016 primary election

are barred by the statute of limitations applicable to claims arising under Title II or Section

504 in Maryland because the allegedly actionable conduct occurred more than three years

ago. And plaintiffs otherwise fail to plead facts that, when taken as true in light of

legislative and administrative records of which this Court may take judicial notice, give

rise to a plausible claim that disabled voters were denied meaningful access to the right to

vote privately and independently during the 2016 general election and 2018 primary and

general elections. Moreover, even if plaintiffs were able to plead a prima facie claim that

their rights under Title II or Section 504 were violated (though they are not), their proposed

accommodation of requiring every voter to default to using the BMD is unreasonable on

its face and, if ordered by the Court, would fundamentally alter Maryland’s voting

program, which neither Title II nor Section 504 require of defendants. Accordingly,

plaintiffs fail to state claims under Title II or Section 504 upon which relief can be granted,

and those claims should be dismissed.

       Second, plaintiffs’ claims should be dismissed on the separate and independent

ground that they are moot. They are moot because the State Board has recently adopted a

new BMD policy for the 2020 elections that remedies the circumstances under the prior

policy that allegedly form the basis for plaintiffs’ claims. The new policy increases the

number of voters per precinct required to use the BMDs from two to five, requires poll

workers to use neutral language in presenting the BMD as an equally valid option for voters

to use to mark their ballots (as opposed to identifying the BMD as an “accessible” device

that was available “if needed”), increases training of poll workers around the BMDs, and


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authorizes local elections boards to deploy additional BMDs to polling places without

obtaining State Board approval. Accordingly, the allegedly unlawful behavior identified

in plaintiffs’ Complaint is not reasonably likely to occur. Therefore, plaintiffs’ claims

should be dismissed as moot.

                                     BACKGROUND

       Maryland’s Voting System

       Prior to 2016, Maryland voters cast their votes at polling places principally via

“direct recording electronic” (“DRE”) unit, a voting machine that provided for the voting

and tabulation of votes directly by a computerized touchscreen without the need for paper

ballots. See Compl. ¶ 20; 98 Md. Op. Att’y Gen. 152, 154 (Dec. 18, 2013). The DRE units

were equipped with accessibility features, and thus all voters cast their ballots on election

day in the same manner. Compl. ¶ 20. The DRE units did not, however, produce “a ‘paper

trail’ that would allow for independent verification of the accuracy of the vote tabulation.”

98 Md. Op. Att’y Gen. at 155.

       As a result, the Maryland General Assembly enacted legislation directing the State

Board to procure a voting system that would produce a “voter-verifiable paper record,”

Md. Code Ann., Elec. Law (“Elec. Law”) § 9-102(d)(1)(vii) (LexisNexis 2017); Compl. ¶

21, defined to mean “a paper ballot” that is either “prepared by the voter for the purpose of

being read by a precinct-based optical scanner,” “mailed to the applicable local board,” or

“created through the use of a ballot marking device.” Elec. Law § 9-102(a)(1)–(3). At the

same time, the legislature required any voting system selected by the State Board to:




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       (1) provide access to voters with disabilities that is equivalent to access afforded
           voters without disabilities without creating a segregated ballot for voters;

       (2) ensure the independent, private casting, inspection, verification, and correction
           of secret ballots by voters with disabilities in an accessible media by both visual
           and nonvisual means, including synchronized audio output and enhanced visual
           display; and

       (3) comply with both the Americans with Disabilities Act, P.L. 101-336, and the
           Help America Vote Act [“HAVA”], P.L. 107-252, including accessibility
           standards adopted as part of the Voluntary Voting System Guidelines pursuant
           to the Help America Vote Act.

Id. § 9-102(f). Consistent with the requirements of HAVA, the legislature required the

State Board to ensure that “[a]t least one voting system in each polling place on election

day shall provide access for voters with disabilities,” and that “adequate backup equipment

is available and contingency plans are established to ensure compliance” with that

requirement. Id. § 9-102(g)(1)–(2); see 52 U.S.C. § 21081(a)(3) (requiring “at least one

direct recording electronic voting system or other voting system equipped for individuals

with disabilities at each polling place”).1 In addition, the law required that all election

judges be trained on use of the voting systems, including “(1) all features of the voting




       1
         Maryland’s “contingency plan” during the period covered by plaintiffs’ allegations
required that voting equipment such as the BMD must either be functioning or replaced
within two hours of the equipment failing or becoming inoperable or unavailable. See Md.
State Bd. of Elections, SBE Policy 2017-1: Contingency Plans for the 2018 Elections,
available                 at                 pp.               78-82                     of:
https://elections.maryland.gov/about/meeting_materials/December_2017.pdf (last visited
Sept. 3, 2019). These administrative records are subject to judicial notice and may be
considered by the Court without converting this motion to dismiss to one for summary
judgment. Thomas v. Westchester Cnty. Health Care Corp., 232 F. Supp. 2d 273, 276
(S.D.N.Y. 2002); Whye v. Concentra Health Servs., Inc., No. CIV.A. ELH-12-3432, 2013
WL 5375167, at *5 (D. Md. Sept. 24, 2013), aff'd, 583 F. App’x 159 (4th Cir. 2014).


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system that provide access to voters with disabilities; and (2) the rights of voters with

disabilities.” Elec. Law § 10-206(e)(1)–(2).

       The legislature did not define what constitutes a “segregated ballot” for purposes of

§ 9-102(f)(1). As the State Board was evaluating voting systems, the State Administrator

requested an opinion from Maryland’s Attorney General regarding the meaning of the term.

See 98 Md. Op. Att’y Gen. at 152. The Attorney General issued his opinion in December

2013, concluding that “the General Assembly, by prohibiting the use of a ‘segregated

ballot,’ intended to prevent the certification of a voting system that, for voters with

disabilities, creates ballots that are physically set apart or can be easily distinguished from

the ballots cast by other voters.” Id. at 166. As a result, the State Board had “three options

for certifying voting systems that would not result in creation of a segregated ballot.” Id.

It could:

       (1) “require all voters to use accessible machines”;

       (2) “certify an accessible voting system for the sole use of disabled voters so long
           as (a) that system produces ballots that are identical to the ballots produced by
           non-accessible machines, and (b) all ballots, from whatever machine, are cast,
           counted, and stored together”; or

       (3) “certify any accessible system so long as it establishes polling-place procedures
           to ensure that enough non-disabled voters will use the accessible system that the
           ballots of disabled voters cannot be identified as such.”

Id. According to the Attorney General, “[a]ny one of these approaches would” meet the

requirements of the law, and “[w]hich approach to take, and how to implement that

approach, [was] within [the State Board’s] statutory discretion to determine.” Id.




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         In 2014, the State Board selected and certified a new voting system for use

beginning with the 2016 primary election. See Md. State Bd. of Elections, New Voting

System            –          What           You           Need            to          Know,

https://elections.maryland.gov/voting_system/index.html (“New Voting System”) (last

visited Sept. 3, 2019). The system features the use of hand-marked paper ballots as well

as an accessible ballot marking device that electronically marks and then prints paper

ballots. See id.; Compl. ¶¶ 3, 23. Both types of ballots are then tabulated by optical

scanners. See New Voting System. Both types of ballots are also of different size, shape,

and content. Compl. ¶ 3.2

         The 2016 Primary Election

         The certification of a new voting system involving the use of both hand-marked and

BMD-printed ballots of different sizes meant that the State Board needed to “establish[]

polling-place procedures to ensure that enough non-disabled voters will use the accessible

system that the ballots of disabled voters cannot be identified as such.” 98 Md. Op. Att’y

Gen. at 166. The State Board’s considerations included concerns that “voters may be

confused about how to move between screens on the BMD and that candidates further

down the ballot could be prejudiced by not appearing on the initial contest screen.” Compl.

¶ 43. Indeed, the State Board was sued by at least one candidate for this very reason. See

Trone v. Maryland State Bd. of Elections, No. C-02-CV-16-000741, Pet. for Judicial



         2
         Whereas the pre-printed, hand-marked paper ballot lists all of the candidates in the
contests at issue, the ballot printed by the BMD encodes the voter’s selections on a barcode
and only lists the candidates selected by the voter for verification purposes.


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Review & TRO (Md. Cir. Ct. Mar. 4, 2016) (seeking TRO against printing of ballot due to

appearance of candidate’s name on “second screen” of the candidate line-up for multi-

candidate contest on the BMD, allegedly in violation of statutory requirement that the

ballot “present all candidates . . . in a fair and nondiscriminatory manner”) (attached hereto

as Ex. B).3

        For the 2016 primary election, the State Board settled on a policy under which “a

minimum of 2 voters a day at each early voting center” during early voting and “at each

precinct” on election day “will use the ballot marking device to mark their ballots.” Md.

State       Bd.   of   Elections,   Meeting   Minutes     –    March     4,   2016,    at    2,

https://elections.maryland.gov/pdf/minutes/2016_03_04.pdf (last visited Sept. 3, 2019).4

The State Board made clear that “[a]ny voter may ask to use the ballot marking device,”

but did not require poll workers to advise all voters of its availability. Id. Although

plaintiffs did not include data in their Complaint regarding the number of precincts that

failed to meet the two-voter minimum for BMD usage in the 2016 primary election, they



        3
         “[I]n the context of a motion to dismiss, ‘[a] court may take judicial notice of
docket entries, pleadings and papers in other cases without converting a motion to dismiss
into a motion for summary judgment.’” Strickland-Lucas v. Citibank, N.A., 256 F. Supp.
3d 616, 623 (D. Md. 2017) (quoting Brown v. Ocwen Loan Servicing, LLC, PJM–14–3454,
2015 WL 5008763, at *1 n.3 (D. Md. Aug. 20, 2015)).
        4
          In addition to being administrative records that are subject to judicial notice, see
Thomas, 232 F. Supp. 2d at 276, the State Board’s meeting minutes articulating the BMD
policy that is the subject of this lawsuit may be considered by this Court in ruling on this
motion to dismiss for the independent reason that the plaintiffs expressly refer to that policy
in their Complaint. See Strickland-Lucas, 256 F. Supp. 3d at 622 (holding that a court may
consider documents “explicitly incorporated into the complaint by reference” in ruling on
a motion to dismiss).


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allege that 50% of blind Maryland voters who responded to an NFB survey in 2016—

almost certainly relating to that year’s primary election, and not the general election5—

reported that “poll workers failed to inform them that they had the option of voting using

a BMD,” 28% reported that “poll workers failed to provide instructions on how to use the

BMD,” and “nearly 40% reported that poll workers had problems setting up or activating

the BMD.” Compl. ¶ 45.

       The 2016 General Election and 2018 Primary and General Elections.

       Following the 2016 primary election, prompted by several advocates (including

plaintiffs NFB and NFB-MD), the State Board altered its BMD policy to require poll

workers to read the following statement to all voters who check-in to vote at polling places:

“If needed, there is an accessible way to read or mark your ballot.” 9/8/16 State Board

Meeting Minutes, at 3. The policy also required poll workers to offer to explain the

accessibility features of the BMD to any voter who requested to use it, and provided that

only one BMD would be deployed to each early voting center and polling place unless a

local board of elections sought and obtained approval from the State Board for the

deployment of additional units. See Md. State Bd. of Elections, Meeting Minutes – May

16, 2019, at 11, https://elections.maryland.gov/pdf/minutes/2019_05.pdf (“5/16/99 State




       5
          The survey data alleged in the Complaint corresponds to survey results regarding
the 2016 primary election presented by NFB representatives at the State Board meeting on
September 9, 2016. See Md. State Bd. of Elections, Meeting Minutes – Sept. 8, 2016, at 2,
https://elections.maryland.gov/pdf/minutes/2016_09_08.pdf (last visited Sept. 3, 2019)
(the “9/8/16 State Board Meeting Minutes”). At that meeting, NFB reported that 60 voters
responded to its survey, of which 63% (i.e., 38 respondents) were blind. Id.


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Board Meeting Minutes”) (last visited Sept. 3, 2019) (summarizing BMD policy in place

between 2016 and 2018). Plaintiffs allege that in the 2018 general election under these

policies, there were 34 precincts statewide in which only one ballot printed from a BMD

was cast, Compl. ¶ 28, or approximately 1.7% of the 1,991 precincts that are active

statewide. See Md. State Bd. of Elections, Number of Precincts and Polling Places by

County,                                           https://elections.maryland.gov/elections/

2018/numberofprecinctsbycountygeneral.pdf (last visited Sept. 3, 2019).

       The State Board retained the BMD policy in place for the 2016 general election for

both the 2018 primary and 2018 general elections, as its concerns regarding candidate

placement and navigation between screens were not expected to be remedied by the BMDs’

manufacturer in time for the elections. See Md. State Bd. of Elections, Meeting Minutes –

Oct. 26, 2017, at 8, https://elections.maryland.gov/ pdf/minutes/2017_10.pdf (last visited

Sept. 3, 2019). Plaintiffs allege that in the 2018 primary election, there were 40 precincts

statewide in which only one ballot printed from a BMD was cast, Compl. ¶ 30,

approximately 2.0% of active statewide precincts. And plaintiffs allege that in the 2018

general election, there were 22 precincts statewide in which only one ballot printed from a

BMD was cast (1.1%), and 66 precincts in which no ballot printed from a BMD was cast

(3.3%).

       Plaintiffs also allege specific instances across these elections in which individual

voters encountered difficulty marking their ballots via the BMD, or had their privacy

compromised as a result of the State Board’s policy. See generally Compl. ¶¶ 37-42.

Plaintiff Joel Zimba alleges that he was the only voter who used a BMD at his precinct in


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the 2018 primary election, and thus his ballot was “readily identifiable to the poll workers”

at his precinct. Compl. ¶ 37. Plaintiff Ruth Sager alleges that the single BMD deployed at

her polling place during the 2018 general election “was broken,” and thus she had to enlist

the help of two poll workers in order to cast a hand-marked paper ballot and “spent

approximately 50 minutes voting, even though there was no line.” Id. ¶ 39. Plaintiff Marie

Cobb alleges that in both the 2016 and 2018 general elections poll workers at her precinct

did not know how to use the BMD, and that on both occasions Ms. Cobb was required “to

set up and figure out how to use the machine on her own” (or with the help of a relative),

requiring her “to spend between a half an hour to an hour trying to vote.” Id. ¶ 41.

       2019 Legislative Efforts to Require Universal Use of BMDs

       Following the 2018 general election, the General Assembly considered legislation

which would have required “each voter” to “use a ballot marking device that is accessible

to voters with disabilities,” beginning with the 2022 elections, see Compl. ¶ 33; H.B. 565,

2019 Sess. (Md.), http://mgaleg.maryland.gov/2019RS/bills/hb/hb0565f.pdf (last visited

Sept. 3, 2019).6 The fiscal impact of the legislation was estimated to be $12 million

annually, split evenly between the State of Maryland and the counties, arising from the

costs of “leas[ing] sufficient numbers of ballot marking devices (approximately 18,000

statewide) . . . , plus transportation costs for the [BMDs] to and from voting locations.”



       6
         An identical bill was cross-filed in the Maryland Senate as Senate Bill 363. See
S.B. 363, 2019 Sess. (Md.), http://mgaleg.maryland.gov/2019RS/ bills/sb/sb0363f.pdf (last
visited Sept. 3, 2019). The legislative history of H.B. 565 and S.B. 363 may be considered
by this Court without converting this motion to one for summary judgment. See Ademiluyi
v. PennyMac Mortg. Inv. Tr. Holdings I, LLC, 929 F. Supp. 2d 502, 512 (D. Md. 2013).


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Dep’t of Legislative Servs., Md. Gen. Assembly, Fiscal and Policy Note: H.B. 565 (Feb.

17, 2019), at 1, 2, http://mgaleg.maryland.gov/2019RS/fnotes/bil_0005/hb0565.pdf (last

visited Sept. 3, 2019) (“HB 565 Fiscal Note”). In hearings before committees of the

Maryland Senate and House of Delegates, lawmakers heard testimony favoring and

opposing the legislation.7 In general, supporters argued that the State Board’s BMD policy

for the 2016 and 2018 elections deprived disabled voters of an equal and independent

voting experience, and that only a universal system in which all in-person voters used the

same voting technology — or, at minimum, in which all voters cast their votes using ballots

that were identical in appearance — would ensure true equality in voting. See generally

Md. House of Delegates, Ways & Means Comm., Hr’g on H.B. 565, at 3-7, 9, 16-32, 37

(Feb. 19, 2019) (written testimony) (attached hereto as Ex. A). Jonathan Lazer, Professor

of Information Studies at the University of Maryland, testified regarding the policies in

several other jurisdictions that use the same model BMD that is used by Maryland, and

concluded that the ballot secrecy problems encountered by Maryland are not encountered

by other jurisdictions, where broader BMD use by voters is accomplished because “voters




       7
          See generally Md. House of Delegates, Ways & Means Comm., Hr’g on H.B. 565
(Feb. 19, 2019) (live testimony), http://mgahouse.maryland.gov/mga/play/1a0a5140-4f25-
43c2-a4ff-e761d2eee0b7/?catalog/03e481c7-8a42-4438-a7da-
93ff74bdaa4c&playfrom=2643000 (last visited Sept. 3, 2019); Md. Senate, Educ., Health
& Envtl. Aff. Comm., Hr’g on S.B. 363 (Feb. 28, 2019) (live testimony),
http://mgahouse.maryland.gov/mga/play/ebaa7830-8666-4eac-a220-
9f5bab8ead97/?catalog/03e481c7-8a42-4438-a7da-93ff74bdaa4c&playfrom=5583000
(live testimony) (last visited Sept. 3, 2019).


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are given the neutral option to vote using [the BMD], are encouraged to vote using [the

BMD], or are only allowed to vote using [the BMD].” Id. at 26.

       Opponents, on the other hand, argued that the $12 million in additional costs

associated with the bill were prohibitive, see Ex. A at 2 (Maryland Association of

Counties), or that the bill’s requirement that all voters use the BMDs compromised election

security by increasing reliance machine-based technology posing ballot-security risks that

are not present with paper ballots, see id. at 10-15 (SAVEourVOTES: Secure, Accessible,

Verifiable Elections for Maryland; Common Cause of Maryland). Opponents also noted

the navigation concerns that prompted the adoption of the State Board’s BMD policy, as

well as the possibility of disenfranchisement caused by longer lines at the polls resulting

from the universal use of BMDs. Id. at 12-13. Finally, the Maryland Association of

Election Officials testified that greater reliance on BMDs would also pose numerous

practical problems relating to the availability of sufficient space and power outlets at

polling places to accommodate the substantial increase in deployed BMDs that would be

necessary under the bill. Id. at 8. The legislation ultimately did not proceed out of

committee in either chamber of the General Assembly.

       The 2020 Election BMD Policy

       At its meeting in May 2019, the State Board committed to revisiting and revising its

BMD policy for the next election cycle, despite uncertainty about whether the BMD’s

manufacturer would be able to resolve the navigation and display issues with the devices.

See 5/16/19 State Board Meeting Minutes, at 11. At its June meeting, the State Board

decided on a new policy. In the course of the discussion around that proposed policy, the


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State Administrator’s staff explained that the State had 3,500 BMDs in its inventory

statewide, and that the availability of additional BMDs was constrained by the

manufacturer’s inventory (given pending awards to other states) and the 12-14 month lead

time that was needed for the production of new BMDs. See Md. State Bd. of Elections,

Meeting Minutes – June 27, 2019, at 9, https://elections.maryland.gov/pdf/minutes/

2019_06.pdf (last visited Sept. 3, 2019) (“6/27/19 State Board Meeting Minutes”).

Ultimately, the State Board changed the policy to increase the minimum number of voters

per polling place required to use the BMDs to mark their ballots from two to five. Id. It

also authorized local boards to deploy a second BMD at election day polling places and up

to four BMDs at early voting centers without obtaining State Board approval. Id. Finally,

it directed State Board staff to increase training of election judges around how voters are

notified about the availability of the BMDs, and directed staff to propose revisions to the

statement by which voters are made aware of the option to mark ballots by BMD. Id. At

its July 25, 2019 meeting, the State Board voted to change the statement given to voters so

that the BMD is presented neutrally as an equal option to the paper ballot: “You have two

ways to mark your ballot - either by hand or with the electronic device. Which do you

prefer?”   Md. State Bd. of Elections, Meeting Minutes – July 25, 2019, at 11,

https://elections.maryland.gov/pdf/minutes/2019_07.pdf (last visited Sept. 3, 2019)

(“7/25/19 State Board Meeting Minutes”).

       The Filing of the Complaint

       Less than one week after the State Board’s July 25, 2019 meeting plaintiffs filed

this action, alleging that the State Board’s implementation of its BMD policy in the 2016


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and 2018 election cycles gave rise to “two separate and unequal voting systems: one for

voters with disabilities and for everyone else,” in violation of Title II and Section 504.

Compl. ¶¶ 1, 3. Plaintiffs alleged that the State Board’s failure to consistently enforce its

two-voter-minimum BMD policy has meant that “when only one voter uses the BMD in

her precinct her ballot comes easily identifiable, destroying the secrecy of her vote.” Id. ¶

3. Plaintiffs further alleged that State Board’s failure to ensure more robust use by voters

of the BMDs has relegated them to using “a secondary, poorly used voting option” that

poll workers are unable to operate (or that poll workers simply forget “to plug . . . in before

a voter requests to use one”), thus depriving individuals with disabilities of “equally

effective” and “equal opportunity to vote.” Id. ¶¶ 4-5; see also id. ¶ 36. According to

plaintiffs, this alleged “failure . . . to provide blind voters with an equal opportunity vote

in person by secret ballot,” id. ¶ 1, as well as the State Board’s alleged failure to provide a

sufficient “auxiliary aid or service that would allow them to vote equally,” constitutes “an

ongoing and continuous violation of” both Title II and Section 504. Id. ¶¶ 55, 57, 71.

       But the remedy sought by plaintiffs is not merely a change in the policy to require

a higher minimum of BMD-voters per precinct, or modifications to training, staffing or

BMD-deployment protocols to improve compliance at the precinct level with the BMD

policy. Instead, plaintiffs ask this Court to order a wholesale change in how Marylanders

vote by way of a permanent injunction “requiring the [State] Board in all future elections

to offer BMDs to every in-person voter as the default method of voting, with paper ballots

offered only to those voters who affirmatively opt out of using the BMD or in cases where

there are long lines of people waiting to vote.” Compl. Prayer ¶ a. Plaintiffs also seek a


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      declaratory judgment that defendants have violated Title II and Section 504 and will

      continue to violate those statutes with the implementation of the State Board’s new BMD

      policy for the 2020 election cycle.

                                            ARGUMENT

 I.          LEGAL STANDARD

             To survive a motion to dismiss, a complaint must contain “enough facts to state a

      claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

      (2007). Although the Court must accept well-pled factual allegations in a complaint as true,

      it is not required to accept conclusory factual allegations or legal conclusions disguised as

      factual allegations. Id.; Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); A Soc’y Without A

      Name v. Virginia, 655 F.3d 342, 346 (4th Cir. 2011). Nor is the Court required to accept

      allegations that “contradict matters properly subject to judicial notice or by exhibit.”

      Massey v. Ojaniit, 759 F.3d 343, 353 (4th Cir. 2014) (quoting Blankenship v. Manchin,

      471 F.3d 523, 529 (4th Cir. 2006). Rather, the complaint must contain direct and plausible

      allegations respecting all material elements necessary to sustain recovery under a viable

      legal theory. Twombly, 550 U.S. at 570. Plaintiffs’ claims should be dismissed under this

      familiar standard.

II.          PLAINTIFFS FAIL TO STATE CLAIMS FOR VIOLATION OF EITHER THE
             AMERICANS WITH DISABILITIES ACT OR THE REHABILITATION ACT.

             Plaintiffs’ claims should be dismissed because they fail to plead violations of either

      Title II or Section 504.




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       Title II of the ADA states that “no qualified individual with a disability shall, by

reason of such disability, be excluded from participation in or be denied the benefits of the

services, programs, or activities of a public entity, or be subjected to discrimination by any

such entity.” 42 U.S.C. § 12132. Similarly, § 504 of the Rehabilitation Act, provides that

“no otherwise qualified individual with a disability . . . shall, solely by reason of his or her

disability, be excluded from the participation in, or be denied the benefits of, or be

subjected to discrimination under any program or activity receiving Federal financial

assistance.” 29 U.S.C. § 794(a). In other words, “[a] public entity discriminates against a

qualified individual when it fails to provide ‘meaningful access’ to its benefits, programs,

or services.” Disabled in Action v. Board of Elections of N.Y., 752 F.3d 189, 198–99 (2d

Cir. 2014) (quoting McElwee v. Cnty. of Orange, 700 F.3d 635, 641 (2d Cir. 2012)); see

Alexander v. Choate, 469 U.S. 287, 301 (1985); Constantine v. Rectors & Visitors of

George Mason Univ., 411 F.3d 474, 498 (4th Cir. 2005).8 A plaintiff states a cause of

action under either statute by alleging that “(1) she has a disability, (2) she is otherwise

qualified to receive the benefits of a public service, program, or activity, and (3) she was

excluded from participation in or denied the benefits of such service, program, or activity,

or otherwise discriminated against, on the basis of her disability.” Constantine, 411 F.3d

at 498 (4th Cir. 2005) (citing cases). Accordingly, the plaintiff must allege a “systemic




       8
        “Claims under [Title II] and [Section 504] can be combined for analytical purposes
because the analysis is ‘substantially the same.’ ” Seremeth v. Board of Cnty. Comm'rs
Frederick Cnty., 673 F.3d 333, 336 n. 1 (4th Cir. 2012) (quoting Doe v. University of Md.
Med. Sys. Corp., 50 F.3d 1261, 1265 n. 9 (4th Cir. 1995)).


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failure to provide meaningful access” to a government benefit or service on account of her

disability. Disabled in Action, 752 F.3d at 198.

       However, “[d]etermining that plaintiffs have been denied meaningful access” to

such a service, program, or activity “does not end [the] analysis.” Nat’l Fed’n of the Blind

v. Lamone, 813 F.3d 494, 507 (4th Cir. 2016). To prevail on their ADA claim, plaintiffs

must also “propose a reasonable modification to the challenged public program that will

allow them the meaningful access they seek.” Id. (quoting Halpern v. Wake Forest Univ.

Health Scis., 669 F.3d 454, 464 (4th Cir. 2012)). Moreover, even a reasonable modification

“need not be made if that modification would ‘fundamentally alter’ the program.” Id. at

508 (quoting 28 C.F.R. § 35.130(b)(7)).9 Finally, any claims under Title II or Section 504

must be brought within “Maryland’s three-year statute of limitations governing general

civil actions.” Semenova v. Maryland Transit Admin., 845 F.3d 564, 567 (4th Cir. 2017);

see Md. Code Ann., Cts. & Jud. Procs. § 5-101(LexisNexis 2013 & 2018 Supp.).10

       Here, plaintiffs have failed to plead facts that plausibly give rise to the conclusion

that they were denied meaningful access to the “service, program, or activity” of voting in-

person by secret ballot, and any claims arising from the 2016 primary election—which took



       9
       Defendants bear the burden of proving that the requested modification would be a
fundamental alteration to the program. See 28 C.F.R. § 35.130(b)(7).
       10
          Because neither Title II nor Section 504 contains a statute of limitations, federal
courts “borrow the state statute of limitations that applies to the most analogous state-law
claim.” A Soc’y Without A Name, 655 F.3d at 347. In Semenova, the Fourth Circuit
concluded that the closest “state-law analog” to a Title II “claim” was Maryland’s general
civil cause of action, which is governed by a three-year limitations period. Semenova, 845
F.3d at 567.


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place on April 26, 2016, more than three years before the filing of this suit—are barred by

limitations in any event. Moreover, even if plaintiffs had pled a prima facie claim under

Title II or Section 504, their proposed accommodation of directing all voters to use the

BMD is, on its face, unreasonable and would impermissibly effect a “fundamental

alteration” in the State’s program for in-person voting on election day. Accordingly,

plaintiffs’ claims should be dismissed.

       A.     Any Claims Arising from the 2016 Primary Election Are Barred by the
              Applicable Three-Year Statute of Limitations.

       As an initial matter, plaintiffs’ claims arising from alleged Title II or Section 504

violations occurring in the 2016 primary election are barred by limitations.

       Plaintiffs allege that “[s]ince 2016, Maryland has maintained two separate and

unequal voting systems: one for voters with disabilities and one for everyone else,” Compl.

¶ 3. They further assert in connection with the 2016 primary election that: “[f]ifty percent

of blind Maryland voters who responded to an NFB survey . . . reported that poll workers

failed to inform them that they had the option of voting using a BMD”; “28% of blind

respondents . . . indicated that poll workers failed to provide instructions on how to use the

BMD”; and “nearly 40% reported that poll workers had problems setting up or activating

the BMD.” Compl. ¶ 45. However, the Fourth Circuit has made clear that Maryland’s

general three-year limitations period for civil actions governs claims under Title II and

Section 504. See Semenova, 845 F.3d at 567. Since the 2016 primary election took place

on April 26, 2016, more than three years before the August 1, 2019 filing of this lawsuit,




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plaintiffs’ claims under Title II and Section 504 arising from that election are barred by

limitations and should be dismissed by this Court.

       B.     Plaintiffs Fail to Allege that they Were Denied Meaningful Access to the
              Right Vote Privately and Independently in the 2016 and 2018 Elections.

       Plaintiffs also fail to state a plausible claim that they encountered a “systemic failure

to provide meaningful access” to the right to vote privately and independently in the 2016

general election or either of the 2018 statewide elections. Disabled in Action, 752 F.3d at

198.

       With regard to the right to vote privately, plaintiffs allege that there were only 34

precincts, 40 precincts, and 22 precincts, in which only one BMD-marked ballot was cast

in the 2016 general, 2018 primary, and 2018 general elections, respectively. Compl. ¶¶ 28,

30, 32.11 This meant that (i) if any of these ballots were cast by voters with disabilities (ii)

who happened to be known to poll workers, and (iii) if those same poll workers

subsequently had occasion to manually review the ballot in the context of a recount, the

secrecy of that ballot would have been compromised. See Compl. ¶¶ 30 (noting that “the

2018 primary election generated several manual recounts, where votes cast using the

BMDs would have been readily distinguishable from hand-marked ballots), 37 (alleging

that Plaintiff Zimba was known to poll workers in his precinct and “was the only voter to




       11
          Plaintiffs also allege that no BMD-marked ballot was cast in 66 precincts in the
2018 general election. See Compl. ¶ 32. But even if this amounted to a breach of the State
Board’s two-voter policy for these precincts, it did not give rise to an allegedly “segregated
ballot” under which the ballots of voters with disabilities would be “readily identifiable.”


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use the BMD in his precinct” in the 2018 primary election, and thus his ballot “was readily

identifiable to the poll workers”).

       But plaintiffs do not allege a single instance of this sequence of events actually

occurring. Plaintiffs allege that Mr. Zimba’s ballot in the 2018 primary election was

“readily identifiable” to poll workers, id. ¶ 37, but that is true of every voter who enlists

the assistance of a poll worker to scan a paper or BMD-printed ballot using the optical

scanner, and would be true even if plaintiffs’ preferred remedy of universal BMD use by

all voters were ordered by this Court.12 They did not allege that Mr. Zimba’s precinct was

subject to a recount in that election, or that his ballot was otherwise manually reviewed by

any of the poll workers who knew him.

       Next, they allege that the “2018 primary election generated several manual

recounts,” Compl. ¶ 30, but fail to identify a single precinct in which only one BMD-

marked ballot was cast that was the subject of one of those recounts (much less that the

single voter who used the BMD in any of those precincts was a disabled voter). Indeed, in

light of the 1,991 total precincts involved in each of the three statewide elections since the




       12
           Even if every voter in a precinct used the BMD to mark their ballots, the ballots
would be “readily identifiable” whenever the voter requests the voter requests a poll
worker’s assistance in scanning the ballot. In general, voters are provided “privacy
sleeve[s]” to shield their ballots from view when, after marking their ballots, they take them
to the scanner.              Md. State Bd. of Elections, Voting—Introduction,
https://elections.maryland.gov/voting/index.html (last visited Sept. 3, 2019). They are then
directed by a poll worker “to insert [the voter’s] ballot into the scanning unit” for tabulation
and storage in a “secure ballot box.” Id. But any voter requiring assistance in scanning
may need to present their ballot to a poll worker for insertion into the scanning unit. See
id.


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2016 general election, this is not surprising: only 1.1% to 2.0% of precincts (depending on

the election) had only one BMD-marked ballot cast. By contrast, the overwhelming

majority of precincts were in compliance with the State Board’s two-voter policy (with

many exceeding that threshold substantially). To the extent that, contrary to their training

and to State Board policy, poll workers in a handful of precincts failed to ensure compliance

with the two-voter BMD policy, plaintiffs have “allege[d], at worst, individual, isolated

instances of employee negligence and not a systemic problem” with the State Board’s

policies. Foley v. City of Lafayette, Ind., 359 F.3d 925, 930 (7th Cir. 2004).13 Even then,

there is no allegation that the single BMD-marked ballot in any of these 1.1 to 2.0% of

precincts was (i) cast by a voter with disabilities (ii) who was known to poll workers, (iii)

and became the subject of a recount (iv) in which the same poll workers reviewed the same

voter’s ballot—all of which would be required for the secrecy of the voter’s ballot to be

compromised. Plaintiffs have failed to plead a plausible claim disabled voters were denied

meaningful access to the secret ballot as a result of their disabilities.

       The same is true of plaintiffs’ allegations regarding access to the ability to vote

independently. Plaintiffs allege that “the low usage rate of the BMD and th[e] fact that it


       13
          See also J.D. v. Georgetown Indep. Sch. Dist., No. A-10-CA-717 LY, 2011 WL
2971284, at *7 (W.D. Tex. July 21, 2011) (“[A]cts of negligence do not come within the
ambit of the ADA.”); cf. Tanner v. Wal-Mart Stores, Inc., No. 99-44-JD, 2000 WL 620425,
at *6 (D.N.H. Feb. 8, 2000) (“Title III's purpose is to ensure that people with disabilities
have access to public facilities, not to provide a remedy for specific acts of negligence.”);
compare Disabled in Action, 752 F. 3d at 199 (80% of poll sites contained at least one
barrier that could have prevented a voter with disabilities from accessing his or her polling
place”)



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is a disfavored alternative means that poll workers are less familiar with how to set up and

operate the machines, making it more likely that blind voters will have difficulty using the

BMD in a timely manner.” Compl. ¶ 36. Specifically, a broken BMD allegedly required

Ms. Sager to complete a paper ballot with assistance from two poll workers, and to “spen[d]

approximately 50 minutes” doing so “even though there was no line.” Id. ¶ 39. But

standing alone, assisted voting due to a broken BMD does not give rise to violation of Title

II or Section 504. HAVA requires only a single accessible voting device at each polling

place, see 52 U.S.C. § 21081(a)(3), and the ADA’s implementing regulations expressly

permit “isolated or temporary interruptions in service” of accessible equipment “due to

maintenance or repairs.” 28 C.F.R. § 35.133(b).14 On their face, plaintiffs’ allegations as

to Ms. Sager’s voting experience allege the mere possibility of a violation, as opposed to

the plausibility required by Twombly and Iqbal. See Stewart v. City of Baltimore, No.

CIV.A. RDB-14-03567, 2015 WL 5604279, at *6 (D. Md. Sept. 23, 2015) (“Iqbal and

Twombly require sufficient detail to make the complaint plausible, not merely possible.”

(citing Iqbal, 556 U.S. at 678)).




       14
          The ADA’s implementing regulations require a “public entity” to “maintain in
operable working condition those features of facilities and equipment that are required to
be readily accessible to and usable by persons with disabilities by the Act,” but do “not
prohibit isolated or temporary interruptions in service or access due to maintenance or
repairs.” 28 C.F.R. §§ 35.133(a)–(b). As noted, the State Board’s contingency policy
requires defective voting equipment to be rehabilitated or replaced within two hours, see
SBE Policy 2017-1, and there is no allegation that the State Board failed to follow this
policy in this instance.


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       Plaintiffs also allege that poll workers’ lack of familiarity with the BMD required

Ms. Cobb to enlist the help of her granddaughter and an NFB employee over the phone to

set up and “guide her through the proper operation of the BMD” in one election, and to

figure out how to use the BMD all by herself in another. See Compl. ¶ 41. But these

allegations make clear that Ms. Cobb was able to vote effectively and independently in

precisely the same manner as she would have had poll workers been the ones to instruct

her on the proper use of the BMD. At most, plaintiffs have alleged two individual instances

of negligence on the part of poll workers that ultimately caused Ms. Cobb no harm.15 This,

too, fails to state a claim under Title II or Section 504. See Foley, 359 F.3d at 930.

       In sum, plaintiffs claim that the State Board’s BMD policy has systemically denied

voters with disabilities meaningful access to the right to vote secretly and independently at

polling sites in Maryland. But the facts they allege in support of these claims do not

plausibly set forth a violation of Title II or Section 504. Plaintiffs’ claims can be dismissed

on this ground alone.

       C.     Plaintiffs’ Proposed Accommodation is Unreasonable.

       Even if plaintiffs had succeeded in pleading a prima facie violation of Title II or

Section 504 (though they have not), their claims should still be dismissed because the




       15
         Plaintiffs allege that Ms. Cobb was required to devote “between half an hour to
an hour trying to vote, even though there [was] no line at her polling place,” Compl. ¶ 41,
but do not explain why this time period would have been shorter had a poll worker — as
opposed to an NFB employee — been able to explain the operation of the BMD to her.


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accommodation they have proposed is unreasonable. See Nat’l Fed’n of the Blind, 813

F.3d at 507.

         A modification is reasonable if it is “reasonable on its face” or used “ordinarily or

in the run of cases” and will not cause “undue hardship.” Id. (quoting Halpern, 669 F.3d

at 464). The burden of establishing the reasonableness of an accommodation is “‘not a

heavy one’”; “it is enough for the plaintiff to suggest the existence of a plausible

accommodation, the costs of which, facially, do not clearly exceed its benefits.” Henrietta

D. v. Bloomberg, 331 F.3d 261, 280 (2d Cir. 2003). Although determination of the

reasonableness of a proposed modification is generally fact-specific, Halpern, 669 F.3d at

464, in appropriate cases the determination may be made “as a matter of law.” Harper v.

Cnty. of Merced, No. 118CV00562LJOSKO, 2018 WL 5880786, at *8 (E.D. Cal. Nov. 8,

2018).

         This is one of those cases. Plaintiffs’ proposed accommodation is unreasonable

because it would impose “undue hardship” on the State Board (and, indeed, on Maryland

voters), while at the same timing imposing costs that clearly exceed its benefits. Plaintiffs

seek as an accommodation the requirement that “the [State] Board in all future elections .

. . offer BMDs to every in-person voter as the default method of voting.” Compl. Prayer ¶

a. But this requested accommodation runs headlong into problems of fulfillment that are

made plain by the legislative and administrative materials of which this Court may take

judicial notice.

         First is the problem of availability. The legislative history of HB 565, which

unsuccessfully sought by legislation what the plaintiffs seek now by court order, makes


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clear that a fivefold increase in the statewide inventory of BMDs would be needed to

support a policy under which every voter was directed to use the BMD to mark their ballot.

See HB 565 Fiscal Note 2 (noting that 18,000 BMDs would be necessary to implement

legislation); 6/27/19 State Board Meeting Minutes 9 (noting that Maryland currently has

3,500 BMDs statewide). Procuring that many BMDs from their manufacturer would

require a lead time of 12-14 months, which would put the 2020 primary (~ 8 months away)

and probably the 2020 general elections (~14 months away) out of reach for

implementation of the relief sought by plaintiffs. “A reasonable accommodation is one

that is feasible or plausible.” Reyazuddin v. Montgomery Cnty., Md., 789 F.3d 407, 414

(4th Cir. 2015).   Since plaintiffs’ proposed accommodation would be impossible to

implement in time for the 2020 elections, it is not reasonable.

       Second is the problem of cost.       The HB 565 Fiscal Note indicated that the

accommodation sought by plaintiff would require $12 million in additional state and local

outlays per year. See HB 565 Fiscal Note 1. This cost exceeds the benefits of the proposed

accommodation, particularly since the accommodation goes well beyond what would be

needed to remedy the violations alleged in plaintiffs’ Complaint, even accepting all of their

allegations as true. For example, increasing the minimum number of voters per precinct

who must use the BMD to mark their ballots would have the same effect of rendering any

ballots cast by voters with disabilities private, without the increased cost associated with

requiring every voter to use the BMD. So, too, would altering the statement provided to

voters by poll workers to present the BMD as a neutral alternative (as opposed to an

“accessible” device that is available “if needed”). And increased emphasis on training


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would address the isolated instances in which poll workers either fail to ensure that the

minimum number of voters per precinct uses the BMD, or are unable to sufficiently instruct

voters as to the operation of the BMDs. “A public entity is required to make reasonable

accommodations where necessary to give meaningful access to programs or benefits, but

need not do so if the accommodation would be unduly burdensome.” Allen v. Morris, No.

4:93-CV-00398-BSM-JWC, 2010 WL 1382112, at *7 (E.D. Ark. Jan. 6, 2010), adopted

by, 2010 WL 1382116 (E.D. Ark. Apr. 2, 2010). Given the availability of less burdensome

remedies, plaintiffs’ proposed accommodation is unreasonable.

       D.     Plaintiffs’ Proposed Accommodation Would Effect a Fundamental
              Alteration of Maryland’s Voting Program.

       Even assuming the plaintiffs’ proposed accommodation could be regarded as

“reasonable on its face” (though it cannot), their proposal to require all voters to be directed

to use the BMD would constitute a fundamental alteration of Maryland’s voting program.

       The ADA’s implementing regulations require a public entity to “make reasonable

modifications in policies, practices, or procedures when the modifications are necessary to

avoid discrimination on the basis of disability, unless the public entity can demonstrate that

making the modifications would fundamentally alter the nature of the service, program, or

activity.” 28 C.F.R. § 35.130(b)(7)(i). The Fourth Circuit has held that “budgetary

concerns” may be “relevant to the fundamental alteration calculus,” but “financial

constraints alone cannot sustain a fundamental alteration defense.” Pashby v. Delia, 709

F.3d 307, 324 (4th Cir. 2013). Rather, a modification to an “essential aspect” of the

program constitutes a fundamental alteration. Halpern, 669 F.3d at 464 (quoting PGA



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Tour, Inc. v. Martin, 532 U.S. 661, 682-83 (2001). The question for the Court is whether

the proposed accommodation is “so at odds” with the existing voting program so as to be

“unreasonable.” Cf. Nat’l Fed’n of the Blind, 813 F.3d at 509. Although the fundamental

alteration analysis is typically not appropriate at the motion-to-dismiss stage, see

Radaszewski ex rel. Radaszewski v. Maram, 383 F.3d 599, 614 (7th Cir. 2004), here the

Complaint permits no other conclusion than that plaintiffs are seeking a fundamental

alteration of Maryland’s voting program.

       Plaintiffs acknowledge that most voters choose to hand-mark their ballots. Compl.

¶ 3. Yet rather than seek relief within the confines of that framework, plaintiffs propose to

turn it on its head, demanding that the State Board “move to a fully integrated voting

system, in which the BMD is the default option for all voters.” Id. ¶ 4 (emphasis added).

This wholesale change to the manner in which millions of Marylanders vote is precisely

the sort of fundamental alteration that is foreclosed by the ADA. In Montalvo v. Radcliffe,

167 F.3d 873 (4th Cir. 1999), the Fourth Circuit held that a proposed accommodation that

would have required a martial arts studio to “soften the teaching style of its program,” so

as to minimize the risk of bloody injuries so that an HIV-positive student could participate,

constituted a “fundamental alteration of the nature of [the] program.” Id. at 879. Similarly,

plaintiffs here seek a program-wide alteration that would change the way that most

Maryland voters mark their ballots. Just like the “fundamentally different program of

instruction” that the Fourth Circuit rejected in Montalvo, id., plaintiffs here would impose

a fundamentally different program of voting. Accordingly, plaintiffs fail to state a claim




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       for violation of Title II and Section 504, because their proposed accommodation would

       require a fundamental alteration of Maryland’s voting program.

III.          PLAINTIFFS’ CLAIMS ARE MOOT.

              Plaintiffs’ claims should be dismissed for the separate and independent reason that

       they are moot. Plaintiffs have alleged violations of Title II and Section 504 on the basis of

       the implementation of a BMD policy that has now been superseded. Moreover, the new

       policy in place for the 2020 elections addresses the issues that plaintiffs allege give rise to

       their claims. Accordingly, plaintiffs’ claims should be dismissed for this reason as well.

              A case becomes moot “if subsequent events ma[k]e it absolutely clear that the

       allegedly wrongful behavior could not reasonably be expected to recur.” Friends of the

       Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 189 (2000). The Fourth

       Circuit has held that “a governmental entity’s change of policy renders a challenge moot

       when the governmental entity ‘has not asserted its right to enforce [the challenged policy]

       at any future time.’” Porter v. Clarke, 852 F.3d 358, 360, 364 (4th Cir. 2017) (alteration

       in original) (quoting Telco Commc’ns, Inc. v. Carbaugh, 885 F.2d 1225, 1231 (4th Cir.

       1989)); see also Troiano v. Supervisor of Elections in Palm Beach Cnty., Fla., 382 F.3d

       1276, 1285 (11th Cir. 2004) (holding that “a challenge to a government policy that has

       been unambiguously terminated will be moot in the absence of some reasonable basis to

       believe that the policy will be reinstated if the suit is terminated”).

              Here, the “allegedly wrongful behavior” that occurred during the 2016 and 2018

       elections cannot “reasonably be expected to recur” in 2020, because the new BMD policy

       adopted by the State Board clearly remedies the circumstances under the prior policy that


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formed the basis for plaintiffs’ claims. Plaintiffs’ claims focus on two alleged deficiencies

with the State Board’s prior BMD policy: its failure to assure voters with disabilities a

secret ballot (due to the number of polling places that “had only one voter use the [BMD]”),

Compl. ¶ 3; and its relegation of the BMD to a “secondary, poorly used voting option” that

“poll workers [we]re not as familiar with,” id. ¶ 4. Both alleged defects are addressed by

the State Board’s new policy.

       First, the new policy:

       (i)     increases the minimum number of voters per precinct who will be required

               to use the BMDs to mark their ballots from two to five;

       (ii)    alters the statement made to each voter so that the BMD is presented as a

               neutral alternative (as opposed to an “accessible” device, “if needed”);

       (iii)   increases training of poll workers around how voters are notified about the

               availability of the BMDs; and

       (iv)    authorizes local boards to deploy an additional BMD at polling places

               without needing to obtain prior State Board approval.

See 6/27/19 State Board Meeting Minutes at 9, 7/25/19 State Board Meeting Minutes at 11.

Together, these changes will lead to an increase in BMD usage that will more than

compensate for the handful of precincts in which only one BMD-marked ballot was cast in

recent elections. Plaintiffs contend that because “the Board has consistently failed to

require even two voters per precinct to use the BMD since 2016,” it is unlikely to be able

to adhere to its new policy of requiring five voters per precinct to mark their ballots via

BMD. Compl. ¶ 35. But aside from their mischaracterization of the extent to which


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precincts statewide failed to adhere to the two voter policy,16 plaintiffs ignore the

comprehensive nature of the policy changes: in addition to raising the minimum from two

to five voters, the State Board also ordered increased poll worker training, authorized

greater BMD deployment, and modified the statement provided to voters to present the

BMD as a neutral alternative. The new policy can therefore “reasonably be expected” to

remedy plaintiffs’ alleged violations regarding the secrecy of disabled voters’ ballots.

       Second, the increase in BMD-usage occasioned by these changes will also remedy

the circumstances under which BMDs allegedly served as “a secondary, poorly used voting

option.” Compl. ¶ 4. In addition to the increased training they will receive, poll workers

will become more familiar with the BMDs as more voters opt to use them, thereby

resolving those instances where a poll worker’s lack of familiarity with how the devices

work was driven by a paucity of voters who used them.

       Accordingly, since the alleged violations giving rise to plaintiffs’ “cannot

reasonably be expected to recur” under the State Board’s new BMD policy, plaintiffs’

claims are moot and should be dismissed.


                                     CONCLUSION

       For all of the foregoing reasons, the defendants’ motion to dismiss should be granted

and the plaintiffs’ Complaint should be dismissed.




       16
         As noted above, between 1.1% and 2.0% of precincts had only one voter mark his
or her ballot via the BMD in the last three statewide elections, while 3.3% of precincts in
the most recent general election had no voter use the BMD.


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                                   Respectfully submitted,

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